Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 1 of 22.

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION.
‘UNITED STATES OF AMERICA / §
| v. | | : " CRIMINAL NO. 4:16-cr-385-S
HITESH MADHUBHAI PATEL, : -
a.k.a. Hitesh Hinglaj §
Defendant. ;

PLEA AGREEMENT

The United States of America, by and through its attorneys, Ryan K Patrick, United States
Attomey for the Southern District of Texas, and Brian Benczkowski Assistant Attorney General
for the Department of Justice, Criminal Division, the Defendant, HITESH MADHUBHAI PATEL
a/k/a Hitesh Hinglaj (“Defendant”), and Defendant’s counsel, pursuant to Rule 11(c)( 1A) and |
(B) of the Federal Rules of Criminal Procedure, state that they have entered into an agreement, the

terms and conditions of which are as follows:

_Defendant’s Agreement

1, Defendant agrees to plead guilty to Counts One and Two of the Superseding Indictment |
‘in Criminal Case No. 4:16-cr-385-8, which charges Defendant with a violation of Title 18, United
States Code, Section 1349 (Wire Fraud Conspiracy), and Title 18, United States Code, Section 371
(Conspiracy). The defendant, by entering this plea, agrees that he is waiving any right to have the
facts that the law makes essential to the punishment either charged in the indictment, proven to a

_ jury, or proven beyond a reasonable doubt, ,
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 2 of 22

Punishment Range -

2. The statutory maximum penalty for a violation of Title 18, United States Code, .
Section 371, is imprisonment of not more than five years anda fine of not more than the greatest
of $250,000.00 or the greater of twice the gross gain or twice the gross loss from the offense. See
Title 18, United States Code, sections 371, 3571(b)(2)-(3), and 3571(d). Additionally, Defendant
may receive a term of supervised release after imprisonment of up to three years. See Title 18,
United States Code, sections 3559(a)(4) and 3583(b)(2). The statutory maximum penalty for a
violation of Title 18, United States Code, Section 1349, is imprisonment of not more than 20 years
and a fine of not more than the greatest of $250,000.00 or the greater of twice the gross gain or
twice the gross loss from the offense. See Title 18, United States Code, sections 1343, 1349,
3571(b)(2)-(), and 3571(d). Additionally, Defendant may. receive a term of supervised release
after imprisonment of up to three years on each count of conviction. See Title 18, United States
Code, sections 3559(a)(3) and 3583(b)(2). Defendant acknowledges and understands that if he
should violate the conditions of any period of supervised release which may be imposed as part of
his sentence, then Defendant may be imprisoned for the entire term of supervised release, without
credit for time already served on the term of supervised release prior to such violation. See Title
18, United Stated Code, sections 3559(a)(3) and 3583(e)(3). Defendant understands’ that he
cannot have the imposition or execution of the sentence suspended, nor is he eligible for parole.

Mandatory Special Assessment

3. Pursuant to Title 18, United States Code, Section 3013(a)(2)(A), immediately after

| sentencing, Defendant will pay to the Clerk of the United States District Court a special assessment

in the amount of one hundred dollars ($100.00) per count of conviction. The payment will be by

 

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD_ Page 3 of 22

cashier’s check or money order, payable to the Clerk of the United States District Court, c/o
District Clerk’s Office, P.O. Box 61010, Houston, Texas 77208, Attention: Finance.
Immigration Consequences

4. Defendant recognizes that pleading guilty may have consequences with respect to his
immigration status if he is not a citizen of the United States. Defendant understands that if he is
not a citizen of the United States, by pleading guilty he may be removed from the United States,
denied citizenship, and denied admission to the United States in the future. Defendant’s attorney.
has advised Defendant of the potential immigration consequences resulting from Defendant’s plea
of guilty. |

Cooperation

S. | If requested by the United States, but only if so requested, the Defendant agrees to
cooperate with the United States. Defendant further agrees to persist in his plea through
sentencing, fully cooperate with the United States, and not oppose the forfeiture of assets
contemplated in this agreement, Defendant understands and agrees that the United States will
request that sentencing be deferred until that cooperation is complete.

6. Defendant understands and agrees that “fully cooperate,” as that term is used herein,
includes providing all information relating to any criminal activity known to Defendant, including
but not limited to conspiracy, wire fraud, postal fraud, identity theft, money laundering,
immigration- violations, and passport fraud. Defendant understands that such information
- includes both state and federal offenses arising therefrom, In that regard:

(a). Defendant agrees that this plea agreement binds only the United States
Attorney for the Southern District of Texas, the Assistant Attorney General for the

Department of Justice, Criminal Division and Defendant; it does not bind any other
United States Attorney or any other unit of the Department of Justice;

3
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 4 of 22

(b) Defendant agrees to testify truthfully as a witness before a grand jury or in
any other judicial or administrative proceeding when called upon to do so by the
United States. Defendant further agrees to waive his Fifth Amendment privilege
against self-incrimination for the purpose of this agreement;

(c) Defendant agrees to voluntarily attend any interviews and conferences as
the United States may request;

(d) Defendant agrees to provide truthful, complete and accurate information
and testimony and understands any false statements made by the Defendant to the
Grand Jury or at any court proceeding (criminal or civil), or to a government agent
or attorney, can arid will be prosecuted under the appropriate perjury, false
statement, or obstruction statutes;

(e) Defendant agrees to provide to the United States all documents in his
possession or under his control relating to all areas of inquiry and investigation; and

63) Defendant agrees that his obligation under this section is a continuing one,

and will coritinue after sentencing until all investigations and/or prosecutions to
which the Defendant’s cooperation may be relevant have been completed.

~ Waiver of Appeal and Collateral Review

7. Defendant is aware that Title 28, United States Code, Section 1291, and Title 18,
United States Code, Section 3742, afford a defendant the right to appeal the conviction and
sentence imposed. Defendant is also aware that Title 28, United States Code, Section 2255,
affords the right to contest or “collaterally attack” a conviction or sentence after the judgment of |
conviction and sentence has become final. Defendant knowingly and voluntarily waives the right
to appeal or “collaterally attack” the conviction and sentence, as well as any fines, restitution, and. ©
forfeiture orders, the court might impose except that Defendant does not waive the right to raise a
claim of ineffective assistance of counsel on direct appeal, if otherwise permitted, or on collateral
review in a motion under Title 28; United States Code, Section 2255. Inthe event Defendant files

a notice of appeal following the imposition of the sentence or later collaterally attacks his

 

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 5 of 22

conviction or sentence, the United States will assert its rights under this agreement and seek
specific performance of these waivers.

8. In agreeing to these waivers, Defendant is aware that a sentence has not: yet been
determined by the Court. Defendant is also aware that any ‘estimate of the possible sentencing
range under the Sentencing Guidelines that he may have received from his counsel, the United
States or the Probation Office, is a prediction and not a promisé, did not induce his guilty plea, and
is not binding on the United States, the Probation Office, or the Court. The United States does
not make any promise or representation concerning what sentence Defendant will: receive.
Defendant further understands and. agrees that the United States Sentencing Guidelines are
“effectively advisory” to the Court. See United States v. Booker, 543 U.S. 220 (2005).
Accordingly, Defendant understands that, although the Court must consult the Sentencing
Guidelines and must take them into account when sentencing Defendant, the Court is not bound
to follow the Sentencing Guidelines nor sentence Defendant within the calculated guideline range.

9, Defendant understands and agrees that each and all waivers contained in the Agreement
are made in exchange for the concessions made by the United States in this plea agreement.

| The United States’ Agreements

10. The United States agrees to each of the following:

(a) If Defendant pleads guilty to Counts One and Two of the Superseding

Indictment in Criminal Case No. 4:16-cr-385-S, persists in that plea through

sentencing, and if the Court accepts this plea agreement, the United States will

move to dismiss any remaining count(s) of the Superseding Indictment i in Criminal

No. 4:16-cr-385-S at the.time of sentencing;

_(b) At the time of sentencing, the United States agrees not to oppose

Defendant’s anticipated request to the Court and the United States Probation Office
that he receive a two (2) level downward adjustment pursuant to section 3E1.1(a)

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 6 of 22

4

of the United States Sentencing Guidelines, should Defendant accept responsibility
as contemplated by the Sentencing Guidelines; and

(c) If Defendant qualifies for an adjustment under section 3E1.1(a) of the
United States Sentencing Guidelines, the United States agrees. not to oppose
Defendant’s request for an additional one-level departure based on the timeliness
of the plea or the expeditious manner in which Defendant provided complete
information regarding: his role i in the offense (if Deferidant’s offensé level i is 16 or
greater).

Agreement Binding - Southern District of Texas
and Department of Justice, Criminal Division Only

11. The United States Attomey’s Office for the Southern District of Texas’ and the
Department of Justice, Criminal Division agree that they will not further ‘criminally prosecute
Defendant for offenses arising from conduct charged in the indictment. This plea agreement
binds only the United States Attorney’s Office for the Southern District of Texas, the Department
of Justice, Criminal Division, and Defendant. It does not bind any other United States Attorney’s
Office or division or section of the Department of Tustice. The United States Attorney’s Office
for the Souther District of Texas and the Department of Justice, Criminal Division, will bring this
plea agreement and the full extent of Defendant’s cooperation to the attention of other prosecuting
offices, if requested. |

United States’ Non-Waiver of Appeal

12. The United States reserves the right to carry out its responsibilities under Guidelines
sentencing, Specifically, the United States reserves the right:

(a) __ to bring its version of the facts of this case, including its evidence file and

any investigative files, to the attention of the Probation Office in connection with

that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to sentencing;

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD_ Page 7 of 22

(c) to seek resolution of such factors or facts in conference with Defendant’s
counsel and the Probation Office;

(d) to file'a pleading relating to these. issues, in accordance with section 6A1.2

of the United States Sentencing Guidelines and Title 18, United States Code,

section 3553(a); and

(e) to appeal the sentence imposed or the manner in which it was determined.

Sentence Determination

13. Defendant is aware that the sentence will be imposed after consideration of the
United States Sentencing Guidelines and Policy Statements, which are only advisory, as well as
the provisions of Title 18, United States Code, Section 3553(a). - Defendant nonetheless
acknowledges and agrees that the Court has authority to impose any-sentence up to and inchiding
the statutory maximum set for the offense(s) to which Defendant pleads guilty, and that the
‘sentence to be imposed is within the sole discretion of the sentencing judge after the Court has
consulted the applicable Sentencing Guidelines. Defendant understands and agrees that the
parties’ positions regarding the application of the Sentencing Guidelines do not bind the Court and
that the sentence imposed is within the discretion of the sentencing judge. If the Court should -
impose any sentence up to the maximum established by statute, or should the Court order any or
all of the sentences imposed to mun consecutively, Defendant cannot, for that reason alone,
withdraw a guilty plea, and will remain bound to fulfill all of the obligations under this plea
agreement. |

Rights at Trial

14. Defendant understands that by entering into this agreement, he surrenders certain

rights as provided in this plea agreement. Defendant understands that the rights of a defendant

~ include the following:

 

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD_ Page 8 of 22

(a) If Defendant persisted in a plea of not guilty to the charges, Defendant

would have the right to a speedy jury trial with the assistance of counsel. The trial

may be conducted by a judge sitting without a jury if Defendant, the United States,

and the Court all agree.

(b) Ata trial, the United States would be required to present witnesses and other

evidence against Defendant. Defendant would have the opportunity to confront

those witnesses and his/her attorney would be allowed to cross-examine them. In

turn, Defendant could, but would not be required to, present witnesses and other

evidence on his own behalf. If the witnesses for Defendant would not appear

voluntarily, he could require their attendance through the subpoena power of the

Court; and

(c)  Atatrial; Defendant could rely on a privilege against self-incrimination and

decline to testify, and no inference of guilt could be drawn from such refusal to

testify. However, if Defendant desired to do so, he could testify on his own behalf.
Factual Basis for Guilty Plea

15. Defendant is pleading guilty because he is in fact guilty of the charges contained in
Counts One and Two of the Superseding Indictment. If this case were to proceed to trial, the
United States could prove each element of thé offenses beyond a reasonable doubt. The following
facts, among others would be offered to establish Defendant’s guilt:

a. Beginning in 2011, agents with Homeland Security Investigations, the Treasury
Inspector General for Tax Administration, the Department of Homeland Security-Inspector
General, and others, began investigating and ultitnately identified a complex fraud and money
laundering scheme in which individuals from call centers located in Ahmedabad, India
impersonated government tax and immigration officials, and others, and called potential victims
located in the United States to defraud them out of money, often threatening them with arrest,
imprisonment; finés, or deportation. if they did not pay alleged taxes or penalties to the government.
The scam callers convinced the victims to pay or transfer often large amounts of money to the

scammers through various methods, per their specific instructions. In order to liquidate the

8
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD_ Page 9 of 22

proceeds derived from victims of this scheme, numerous U.S.-based individuals (also known as
“runners”) operating in various geographic locations were employed by the India-based call center
conspirators. The conspirators liquidated the victims’ funds in various ways and in a closely
coordinated fashion between the call centers, runners, arid associates via email, text and instant
_ messaging services such as WhatsApp. In a typical scenario, call centers directed runners to
purchase general purpose reloadable (GPR) cards and transmit the unique card number to India-
based conspirators who registered the cards. online or via telephone using the misappropriated
personal identifying information (PID of U.S. citizens. The India-based conspirators then loaded
these GPR cards with funds obtained from numerous victims. The runners used the GPR cards
in their possession, loaded with victims’ funds, to purchase money orders they deposited into the
bank account of another person, as directed. This fraud activity often occurred on the same day,
usually within hours; too quickly for the victim to report the fraud to law enforcement and/or
financial institutions in an effort to successfully freeze and recover their funds. For their services,
the runners would earn a specific fee or a percentage. In. addition to laundering victims’ finds
using GPR cards, runners also received victims’ funds via MoneyGram and Western Union wire
transfers using fictitious identities/false identification documents, direct bank deposits by victims .
into the accounts of witting and unwitting bank account holdets, and iTunes or other gift cards that
victims purchased.

b. During the course of the Investigation, agents identified Defendant HITESH |
PATEL as an owner, funder, and operator of several India-based call centers from which the fraud

schemes operated, including organizational Co-Defendant HGLOBAL. Alongside his

 

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 10 of 22

conspirators, Defendant PATEL defrauded victims, processed. fraud payments, and liquidated
fraud funds in the Southern District of Texas and elsewhere throughout the United States.

C. Defendant HITESH PATEL is an Indian national with no immigration status in the
United States. |

d. From in or around 2013 and continuing through on or about the date of ! the
Superseding Indictment, in the Southern District of Texas and elsewhere, within the jurisdiction
of this Court, Defendant HITESH PATEL, along with other co-defendants in Criminal Case No.
4:16-cr-385-S, knowingly combined, conspired, confederated and agreed with each other to

commit an offense against the United States in violation of Title 18, United States Code, Sections

1343 and 1349 (Wire Fraud Conspiracy): to knowingly create a scheme or artifice to defraud or to

obtain money, property, or other things of value by means of material false or fraudulent pretenses,
representations, or promises as set out in the indictment, with the specific intent to defraud, to wit
an intent to specifically deceive or cheat somieone, through the | use of interstate wire
communications facilities or causing another person to use interstate wire communications
facilities for the purpose of carrying out the scheme, and that the scheme to defraud employed false
material representations, in violation of Title 18, United States Code, Sections 1343 and 1349. |

e. From in or around 2013 and continuing through on or about the date of the

Superseding Indictment, in the Southern District of Texas and elsewhere, within the jurisdiction _

of this Court, Defendant HITESH PATEL, along with other co-defendants in Criminal Case No.

4:16-cr-385-S, knowingly combined, conspired, confederated and agreed with each other to

commit an offense against the United States in violation of Title 18, United States Code, Section

371: by agreeing with at least one person to commit the crimes of impersonation of a federal .

10

 

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 11 of 22

officer or employee, identification fraud, access device fraud, or money laundering, as charged in
the indictment, while knowing the unlawfal purpose of the agreement and joining in it willfully,
that is, with the intent to further the unlawful purpose, and that one of the co-conspirators during
the existence of the conspiracy knowingly committed at least one of the overt acts described in

| the indictment, in order to accomplish some object or purpose of the conspiracy.

f. During the course of the | conspiracy, Defendant HITESH PATEL used the
telephone number 9879090909 in furtherance of the fraud and money laundering schemes. This
telephone number was listed as Defendant. PATEL’s home telephone number on a U.S. visa

_application submitted in Defendant Patel’s name in or‘around 2012. This telephone numiber was
also linked to a Facebook page listing username “Hitesh Hinglaj,” a known alias of Defendant
PATEL. The Facebook photo associated with the “Hitesh Hinglaj” Facebook page appears to be
a photograph of Defendant PATEL.

g. During the course of the conspiracy, Defendant HITESH PATEL used the email
account hitesh.hinglaj@gmail.com in furtherance of the fraud and money laundering schemes.
‘This email address was also listed on Defendant PATEL’s 2012 U.S. visa application. On or
about November 28, 2011, the hitesh.hinglaj@emiail.com email account was used to send scanned
images of a passport belonging to Paruleben Patel, the wife of Defendant PATEL, to the email
address dhruv.parthank@hdfcbank.com. On or about May | 9, 2014, the .

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hitesh.hinglaj@gmail.com email account received an email from rajumavadiya@yahoo.com,

 

containing Defendant PATEL’s Indian tax returns for 20 12-2013, and 20 13-2014.
h. During the course of the conspiracy Defendant HITESH PATEL and his

conspirators also used the email account acsglobal3@gmail.com in furtherance of the fraud and

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Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 12 of 22

money laundering schemes. A search warrant for this email account returned subscriber
information that listed the SMS telephone number for the email account as 98790909090, and the
recovery email account as hitesh.hinglaj@gmail.com.

i. Defendant HITESH PATEL’s Indian telephone number, 98709090909, was
included on 39 email messages or chats located in the acsglobal3 @ gmail.com email account. For
example, on or about February 2, 2012, the following Google Chat was exchanged between
acsglobal3 @gmail.com and magic.payment55@gmail.com:

Magic.payment5 5: Magic.payment55@gmait.:com
Magic.payment55: Ane par

Me [acsglobal3}: su????

Magic.payment55: Leads

Me [acsglobal3}:

Me [acsglobal3}: call 9879090909 -

Me [acsglobal3}: Hitesh bhai

Magié.payment55: K

j. On or about April 18, 2013, an email was sent from acsglobal3@gmail.com to
joseph. black1023@gmail.com containing a spreadsheet with lead data titled Sample 700.xisx. The
email content read, “NOT used Fresh Data, HITESH HINGLAJ, 9879090909.”

k. During the course of the conspiracy, hundreds of emails were exchanged from the
email account hitesh.hinglaj@gmail.com with email accounts operated by India-based Co-
Defendants JANAK SHARMA, RAJPAL SHAH, MANISH BHARAJ, TARANG PATEL,
TILAK JOSHI, ABHISHEK TRIVEDI, ASHWINBHAI KABARIA, and U.S.-based Co-
Defendants MIT ESHKUMAR PATEL, and RAJUBHAI PATEL. The majority of these emails

contained lists of credit card numbers, deposit slips, payment information, scam scripts, Magic
Jack account information, call center operations information and instructions, and bank account

information.

12

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 13 of 22

L. | On or about June 24, 2014, an email was sent from hitesh.hinglaj@gmail.com to
fastforward0l@gmail.com with the subject line “hi, check the attachment”. . The body of the email
read, “attached are the details of illegal immigrants, please do the needful to get money out of
them. Thanks and Regards, Hitesh Hinglaj.” The email’s attachment contained a list of five
~ names accompanied by U.S. phone numbers and addresses.

m. A query of the hitesh.hinglaj@gmail.com account for the term “script” in the
subject line of the body of emails revealed that the email account was used to receive or send
_ scripts for telephone impersonation fraud on 25 occasions. : The scripts included IRS

impersonation, USCIS impersonation, Canada Revenue Agency (CRA) impersonation; Australian
"Tax Office (ATO) impersonation, payday loan fraud, US Government grant fraud, and debt
collection fraud. As an example, on or about June 24, 2014, an email was sent from
hitesh.hinglaj@gmail.com to fastfurious9933@gmail.com with the subject “pwd: Script-Immi”,
containing an attachment titled “Script-Imimi.docx” which included an English-language script
that provided exact language on how to conduct a USCIS scam, including threatening arrest and
deportation. As another example, on or about November 29, 2013, an email was sent from
hitesh.hinglaj@gmail.com to software2712@gmail.com that included call ‘scripts for a false

government grant scheme.

 

n. On or about September 17, 2013, an email was sent from hitesh.hinglaj@ gmail.com
to rajpalshah24@gmail.com, an email account used by Defendant HITESH PATEL’s India-based
Co-Defendant RAJPAL SHAH, with the subject line “Fwd: IRS Script.” The email contained a
Microsoft Word File titled “I R S.docx” that contained a script for the IRS impersonation telephone

scam.

13

 

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 14 of 22

oO. On or about November 27, 2013, an email was sent from hitesh.hinglai@gmail.com |
to manish.bharaj@gmail.com with the subject “Fwd: IRS Leads”. The email contained a
Microsoft Excel file titled “IRS Leads for HGLOBAL.xlsx”. The list contained 101 records of
individuals including name, address, telephone, Social Security Number, date of birth, indicator
on how. rnuch IRS tax debt was owed, and employer information.

p- Green Dot records showed that Defendant HITESH PATEL’s cal phone number,
9879090909, was used to access 65 separate GPR cards using Green Dot’s automated telephone
system. During the course of the investigation, investigators identified at least 1,500 telephone
numbers used by Defendant PATEL and his conspirators to access Green Dot’s automated
telephone system. Approximately. 79 of those target telephone numbets accessed GPR cards
located in the email accounts hitesh.hinglai@pmail.com and acs¢ 1 obal3( ail.com, or GPR
cards that were accessed by Defendant PATEL’s cell phone.

q- On March 7, 2012, an email was sent from acs.wun@ em ail.com to |
hitesh.hinglaj@gmail.com indicating that 41 Magic Jack devices had been shipped via UPS to
India-based Co-Defendant TILAK JOSHI in India. |

r. During the course of the conspiracy, monthly ‘income and expense reports for call
centers were sent to the email account hitesh.hinglaj@gmail.com.

S. Co-Defendant M.P. described Defendant HITESH PATEL as follows: he was the
top person in India and the boss for whom most of the other defendants worked. Defendant
PATEL invented the extortion scheme model utilized by the India-based call centers. He owned

six or seven call centers, each of which employed 50-100 people. _Co-Defendant M.P. personally

14

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 15 of 22

met Defendant PATEL in India on two occasions, and. communicated with Defendant PATEL on
the Indian cell phone number 9879090909, and the email account hitesh.hinglaj@gmail.com.
t. . Co-Defendant H.P: described Defendant HIT ESH PATEL as follows: He was the
| owner of organizational Co-Defendant and India-based call center HGLOBAL. In 2012,
Defendant PATEL recruited him into becoming his partner in a call center offering fictitious pay-
day loans. Defendant PATEL later expanded with partnerships in other call centers, for which
Co-Defendant H.P. managed profit and loss statements. Defendant PATEL received payments
from other call centers, handled | and managed cash for the call centers, and also dealt with
hawaladars who assisted the call centers in laundering fraud funds. Defendant PATEL’s call
centers began running IRS and USCIS impersonation scams in 2013, and his employees recruited
“other call centers to operate telefraud schemes by providing them with training, lead lists, and
scripts. Co-Defendant H.P. petsonallly saw Defendant PATEL working in telefraud call center
schemes with India-based Co:Defendants JANAK SHARMA, ABHISHEK TRIVEDI, TILAK
~ JOSHL MANISH BHARAJ, TARANG PATEL, SAURIN RATHOD, SAGAR THAKAR, and —
RAJPAL SHAH, amongst others. Local Indian police frequently visited Defendant PATEL’s call
centers. Defendant PATEL was arrested in India in October 2016, but then paid a bribe and was
released.
u. _A reasonably foreseeable loss of more than $25 million but less than $65 million,
is attributable to Defendant HITESH PATEL, based on the government’s evidence in this case.
This stipulation does not attempt to set forth every aspect of the Defendant’s involvement
in the case, but rather to set forth those facts necessary to serve as a factual basis for the

Defendant’s guilty plea in this case.

15

 

 
Case 4:16-cr-00385 Document 1191 Filed on-01/09/20 in TXSD Page.16 of 22

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- Breach of Plea Agreement

16. If Defendant should fail in any way to fulfill completely all of the obligations under
this plea agreement, the United States will be released from its obligations under the plea
agreement, and Defendant’s plea and sentence will stand: If at any time Defendant ‘retains,
conceals, or disposes of assets in violation of this plea agreement, or if Defendant knowingly
withholds evidence or is otherwise not completely truthful with the United States, then the United
States may move the Court to set aside the guilty plea and reinstate prosecution. “Any information
and documents that have been disclosed by Defendant, whether prior to ot subsequent to this plea
agreement, and all leads derived therefrom, will be used against Defendant in any prosecution.

Restitution, Forfeiture, and Fines — Generally |

17. This Plea Agreement is being entered into by the United States on the basis of
Defendant’s express representation that he will make a full and complete disclosuré of all assets
over which he exercises direct or indirect control, or in which he has any financial interest. —
- Defendant agrees not to dispose of any assets or take any action that would effect a transfer of
property in which he has an interest, unless Defendant obtains the prior written permission of the
_ United Statés. The Defendant further agrees to be polygraphed on the issue of assets, if
requested to do so by the United States. | |

18. Defendant agrees to make complete financial disclosure by truthfully executing a
swom financial statement (Form OBD-500 or similar form) within 14 days of signing this plea
agreement, Defendant agrees to authorize the release of all financial information requested by
the United States, including, but not. limited to, executing authorization forms permitting the

United States to obtain tax information, bank account records, credit histories, and social security

16

 

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 17 of 22

information. Defendant agrees to discuss and answer any questions by the United States relating
to Defendant’s complete financial disclosure.

19. Defendant agrees to take all steps necessary to pass clear title to forfeitable assets to
the United States and to assist fully in the collection of restitution and fines, including, but not
limited to, repatriating assets located abroad, surrendering title, executing a warranty déed, signing
a consent decree, stipulating to facts regarding the transfer of title and the basis for the forfeiture,
and signing any other documents necessary to effectuate such transfer. Defendant also agrees to |
direct any banks which have custody of his assets to deliver all funds and records of such assets to
the United States.

20. Defendant understands that forfeiture, restitution, and fines are separate components
of sentencing and are separate obligations.

Restitution

21. Defendant agrees to pay full restitution to the victim(s) regardless of the count(s) of
conviction. Defendant understands and agrees that the Court will determine the amount of
restitution to fully compensate the victim(s). Defendant agrees that restitution imposed by the
Court will be due and payable immediately and that Defendant will not attempt to avoid or delay
payment. Subject to the provisions of paragraph 7 above, Defendant waives the right to challenge
in any manner, including by direct appeal or in a collateral proceeding, the restitution order
imposed by the Court.

Forfeiture
22. Defendant stipulates and agrees that all property, real or personal, that constitutes or

is derived from proceeds traceable to the conspiracy to commit wire ‘fraud, as listed in the

17

 

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD_ Page 18 of 22

Superseding Indictment’s Notice of Forfeiture (and in any supplemental Notices), is subject to
forfeiture, and Defendant agrees to the forfeiture of that property. That property includes, but is
not limited to:

e One black OnePlus 6 mobile phone (IMEI no. 36826303741 7578 &

868263037417560)

e One grey Mi MDI6 mobile phone (IMEI no. 865397038246868 &

, -865397038246876)

e One black HP laptop (S/N CND64515LC)
For purposes of entering said order of forfeiture, Defendant acknowledges that a nexus exists
between the assets listed above and the criminal offense to which Defendant is pleading guilty.

23; The parties agree that the amount of real or personal property that constitutes or is
derived from proceeds traceable to the wire fraud conspiracy to which the Defendant is pleading
guilty, in violation of 18 USC. §§ 1343, 1349, and the general conspiracy to which the Defendant
is pleading guilty, in violation of 18 U.S.C. § 371, is $ 58,012,034.17 in specified unlawful activity
proceeds. Defendant stipulates and agrees to the entry of an order for substitute assets against
him and in favor of the United States of America at the time of sentencing. Defendant stipulates
and admits that one or more of the conditions set forth in Title 21, United States Code, Section
853 (p), exists. Specifically, the parties agree that the proceeds the Defendant obtained have been
transferred, sold to, or deposited with a third a have been placed beyond the jurisdiction of
the court, and have been commingled with other property which cannot be divided without
difficulty, as a result of the Defendant's own acts or omissions. Defendant agrees to forfeit any

of his property, or his interest in property, up to the value of any unpaid portion of the forfeiture

order, until the order is fully satisfied,

18

 

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 19 of 22

24, Defendant agrees to forfeit and abandon all of the defendant’s interest in all items
seized by law enforcement officials during the course of their investigation. . Defendant agrees to
waive any and all interest in any asset which is the subject of a related administrative or judicial
- forfeiture proceeding, whether criminal or civil, federal or state. With regard to all forfeitable
assets, the Defendant agrees to take all steps necessary to ensure that the property is not hidden,
sold, wasted, destroyed, or otherwise made unavailable for forfeiture. In addition, the Defendant
agrees not to file a Statement of Interest, Ofer in Compromise, Answer, claim, or petition for
remission for such asset in any administrative or judicial proceeding that may be initiated or that
has been initiated. To the extent that the Defendant has filed a Statement of Interest, Offer in
Compromise, Answer, claim, or petition for remission for any such asset, the Defendant hereby
immediately withdraws that filing. |

25. Defendant consents to the order of forfeiture becoming final as to ‘Defendant
immediately following this guilty plea, pursuant to Federal Rule of Criminal Procedure
32.2(b)(4)(A).

26. Subject to the provisions of paragraph 7 above, Defendant waives any and all
constitutional, statutory, and equitable challenges in any manner (including direct appeal, habeas
corpus, or any other means) to any disposal of such property carried out in accordance with this
Plea Agreement on any grounds. The Defendant acknowledges that assets (listed or unlisted in
this agreement) may have been forfeited administratively prior to the execution of this agreement,
and the Defendant hereby waives any interest in such assets; all constitutional, legal, and equitable
claims to stich assets; and all defenses to the forfeiture of such assets in-any proceeding, including

proper notice, timeliness of the notice, innocent ownership, defenses arising in connection with

19.

 

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 20 of 22

any provision of 18 U.S.C. § 983, or excessive fines or punishment. The Defendant also waives
the requirements of Fed. R. Crim. P. 43(a) with respect to the imposition of any forfeiture sanction
carried out. in- accordance with this Plea Agreement. The Defendant further agrees to hold the
United States, its agents and employees harmless from any claims whatsoever in connection with
the seizure or disposal of such property. The Defendant acknowledges that the United States will
dispose of such property and that procedures governing such disposal are for the benefit of the
United States and do not confer any rights whatsoever upon him.
Fines

27. Defendant understands that under the Sentencing Guidelines the Court is permitted to
order Defendant to > pay a fine that is sufficient to reimburse the government for the costs of any
imprisonment or term of supervised release, if any. Defendant agrees that any fine imposed by

the Court will be due and payable immediately, and Defendant will not attempt to avoid or delay
payment. Subject to the provisions of paragraph 8 above, Defendant waives the right to challenge
the fine in any manner, including by direct appeal or in/a.collateral proceeding. .
Complete Agreement

28. This written plea agreement, consisting of 22 pages, including the attached addendum
of Defendant and his attorney, constitutes the complete plea agreement between the United States, |
Defendant, and Defendant’s counsel.. No promises or representations have been made by the
United States except as set forth in writing in this plea agreement. Defendant acknowledges that
no threats have been made against him and that he is pleading guilty freely and voluntarily because
he is guilty.

29. Any modification of this plea agreement must be in writing and signed by all parties.

20

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD_ Page 21 of 22

 

 

 

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Defendant
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Subscribed and sworn to before me on eee q , 2649.

APPROVED:

By:

Ryan K. Patrick
United States Attorney

S. Mark Meanie
Craig M. Feazel
Assistant United States Attorney

Southern District of Texas

Brian Benczkowski
Assistant Attorney General

/s/

DAVID J. BRADLEY, Clerk
UNITED STATES DISTRICT CLERK

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Deputy United States District Clerk

 

 

Méey-Blizabh Conn Mele Cu epess

Attorney for Defendant

 

Mona Sahaf

Trial Attorney

U.S. Department of Justice
Criminal Division.

Human Rights and Special Prosecutions

/s/
Amanda Schlager Wick
Trial Attorney
U.S. Department of Justice
Criminal Division

Money Laundering and Asset Recovery Section

21

 

 
Case 4:16-cr-00385 Document 1191 Filed on 01/09/20 in TXSD Page 22 of 22
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION
UNITED STATES OF AMERICA
v. CRIMINAL NO. 4:16-cr-385-S

HITESH MADHUBHAI PATEL,
a.k.a. Hitesh Hinglaj |

Defendant.

PLEA AGREEMENT -- ADDENDUM

I have fully explained to Defendant his rights with respect to the pending indictment. I
have reviewed the provisions of the United States Sentencing Commission’ s Guidelines Manual :
and Policy Statements and I have fully and carefully explained to Defendant the provisions of
those Guidelines which may apply in this case. I have also explained to Defendant that the
Sentencing Guidelines are only advisory and the court may sentence Defendant up to the maximum
allowed by: statute per count of conviction. Further, I have carefully reviewed every part of this

plea agreement with Defendant. To my knowledge, Defendant’s decision to enter into this

agreement is an informed and voluntary one. 2
W CORN | -/21[ 2015

Attorney }SDefendant L) WS . Date

 

I have consulted with my attorney and fully understand all my rights with respect.to the 7
indictment pending against me. My attorney has fully explained, and I understand, all my rights . ‘
with respect to the provisions of the United States Sentencing Commission’s Guideliries Manual
which may apply inmy case. I have read and carefully reviewed every part of this plea agreement

with my attorney. J understand this agreement ¢ and I voluntarily agree to its terms.

(eo \ | la [a1 favs

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*~ Defendant or ~ Date

22

 
